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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

V. : Case No. 23-CR-372 (TNM)

RYAN KEITH YATES, : Violations:
: 18U.S.C. § 231(a)G)
Defendant. : (Civil Disorder)

18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)()

(Disorderly Conduct in

a Capitol Building)

40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or Picketing in
a Capitol Building)

STATEMENT OF OFFENSE

Pursuant to Fed. R. Crim. P. 11, the United States of America, by and through its attorney,
the United States Attorney for the District of Columbia, and the defendant, Ryan Keith Yates, with
the concurrence of the defendant’s attorney, agree and stipulate to the below factual basis for the
defendant’s guilty plea—that is, if this case were to proceed to trial, the parties stipulate that the
United States could prove the below facts beyond a reasonable doubt:

The Attack at the U.S. Capitol on January 6, 2021
1. The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured twenty-four hours a day by U.S. Capitol Police (USCP). Restrictions around the Capitol

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include permanent and temporary security barriers and posts manned by USCP. Only authorized
people with appropriate identification are allowed access inside the Capitol.

2. On January 6, 2021, the exterior plaza of the Capitol was closed to members of the
public.

3. On January 6, 2021, a joint session of the United States Congress convened at the
Capitol. During the joint session, elected members of the United States House of Representatives
and the United States Senate were meeting in separate chambers of the Capitol to certify the vote
count of the Electoral College of the 2020 Presidential Election, which had taken place on Tuesday,
November 3, 2020. The joint session began at approximately 1:00 PM. Shortly thereafter, by
approximately 1:30 PM, the House and Senate adjourned to separate chambers to resolve a
particular objection. Vice President Mike Pence was present and presiding, first in the joint session,

and then in the Senate chamber.

4, As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the Capitol.
Temporary and permanent barricades, as noted above, were in place around the exterior of the
Capitol, and USCP officers were present and attempting to keep the crowd away from the Capitol
and the proceedings underway inside. By shortly after 1:00 PM, the situation at the Capitol had
become a civil disorder as that term is used in Title 18, United States Code, Section 231, and
throughout the rest of the afternoon the civil disorder obstructed the Secret Service’s ability to
perform the federally protected function of protecting Vice President Pence.

5. ‘At approximately 2:00 PM, certain individuals in the crowd forced their way
through, up, and over the barricades. Officers of the USCP were forced to retreat and the crowd

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advanced to the exterior facade of the building. Officers with the D.C. Metropolitan Police

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Department were called to assist officers of the USCP who were then engaged in the performance
of their official duties. The crowd was not lawfully authorized to enter or remain in the building
and, prior to entering the building, no members of the crowd submitted to security screenings or
weapons checks as required by USCP officers or other authorized security officials.

6. At such time, the certification proceedings were still underway, and the exterior
doors and windows of the Capitol were locked or otherwise secured. Members of the USCP
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after
2:00 PM, individuals in the crowd forced entry into the Capitol, including by breaking windows
and by assaulting members of law enforcement, as others in the crowd encouraged and assisted
those acts. The riot resulted in substantial damage to the Capitol, requiring the expenditure of more
than $2.9 million dollars for repairs.

Ue Shortly thereafter, at Soom 2:20 PM, members of the House of
Representatives and of the Senate, including the President of the Senate, Vice President Pence,
were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the United
States Congress, including the joint session, were effectively suspended until shortly after 8:00
PM on January 6, 2021. In light of the dangerous circumstances caused by the unlawful entry to
the Capitol—including the danger posed by individuals who had entered the Capito! without any
security screening or weapons check—Congressional proceedings could not resume until after
every unauthorized occupant had been removed from or left the Capitol, and USCP confirmed that
the building was secured. The proceedings resumed at approximately 8:00 PM after the building
had been secured. Vice President Pence remained in the Capitol from the time he was evacuated

from the Senate Chamber until the session resumed.

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The Defendant’s Participation in the January 6, 2021, Capitol Riot

8. On January 6, 2021, Yates entered the Capito! grounds’ restricted area around the
United States Capitol building. He stood outside the Capitol building, along the northwest corner,
near the scaffolding that was set up for the inauguration. Yates pushed away barricades that had
been set up to block protesters from reaching the Capitol.

9. Yates entered the Capitol at approximately 2:17 p.m., through the Senate Wing
Door. His phone’s flashlight was on, and he held the device as if recording the scene. Yates
subsequently traveled down the Statuary Hall Connector and to the House side of the building,
where he stood near a group of rioters, apparently typing on his phone, as they tried to break into
the House floor. Yates also traveled to the Capito] Rotunda and Crypt.

10. Around 3:20 p.m., Yates went to the interior Rotunda door, which connects the
Rotunda to the east entrance of the Capitol. As rioters rushed from the outside to get into the
Rotunda, Yates joined in the effort. Yates began to pump his fist as rioters streamed into the
Capitol, and joined as the crowd surged forward. He worked his way to: the front of the group,
and, along with a handful of other rioters, was able to push against police to enter the Rotunda
itself before officers were able to close the door. Inside the Rotunda, surrounded by police, Yates
was escorted out of the building with his arms raised. Later in the day, Yates remained on the
Capitol grounds, within the restricted area.

' Elements of the Offense
11. The parties agree that a violation of Civil Disorder, 18 U.S.C. § 231(a)(3) requires

the following elements:

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a. First, the defendant knowingly committed or attempted to commit an act with the
intended purpose of obstructing, impeding, or interfering with one or more law
enforcement officers.

b. Second, at the time of the defendant’s actual or attempted act, the law enforcement
officer or officers were engaged in the lawful performance of their official duties
incident to and during a civil disorder.

c. Third, the civil disorder in any way or degree obstructed, delayed, or adversely

affected commerce or the conduct or performance of any federally protected

function.

Defendant’s Acknowledgments
12. The defendant knowingly and voluntarily admits to all the elements as set forth
above. Specifically, the defendant admits that:
a. First, he knowingly committed an act with the intended purpose of obstructing,
impeding, or interfering with one or more law enforcement officers.
b. Second, at the time of the defendant’s act, the law enforcement officer or officers

were engaged in the lawful performance of their official duties incident to and

during a civil disorder.

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c. Third, the civil disorder obstructed, delayed, or adversely affected commerce and

the conduct or performance of any federally protected function.

Respectfully submitted,

DATED: January 4, 2024 MATTHEW M. GRAVES
United States Attorney
D.C. Bar No. 481052

By: /s/ Brendan Ballou
Brendan Ballou
DC Bar No. 241592
Special Counsel
United States Attorney’s Office
601 D Street NW
Washington, DC 20001
(202) 431-8493
brendan.ballou-kelley@usdoj.gov

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DEFENDANT’S ACKNOWLEDGMENT

ave discussed it with my
and acknowledge by my
fis voluntarily and of my
cg offnything that could

I, Ryan Keith Yates, have read this Statement of the Offense and
attorney. I fully understand this Statement of the Offense. I agree
signature that this Statement of the Offense is true and accurate. I dy
own free will. No threats have been made to oS or am I under the

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impede my ability to understand this Statgyént of the Offepse fu
12-24 do ZY

Date: Ct Y/

ATTORNEY’S ACKNOWLEDGMENT

Defendant

[have read this Statement of the Offense and have reviewed it with my client fully. I concur
in my client’s desire to adopt this Statement of the Offense as true and accurate.

Date: samuel Deagud (Vast;
Serguel Mawuko Akiti

Attorney for Defendant

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